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                       EXHIBIT 1
Case 3:19-cv-00698-SMY-RJD Document 1-1 Filed 06/27/19 Page 2 of 16 Page ID #10

                                    STATE OF ILLINOIS
               IN THE CIRCUIT COURT FOR THE TWENTIETH JUDICIAL CIRCUIT
                               ST. CLAIR COUNTY, ILLINOIS


  Plaintiff.   Alice Best                                    Case No.: 2019 L 173
                           V.


  Defendant. Ciox Health, LLC
                                          ALIAS SUMMONS

  To the defendant: Ciox Heaith , LLC , 925 North Point Pkwy, Alpharetta, GA 30005 c/o Corporation Service Co., 40
                      Technology Parkway South, Ste. 300, Norcross, GA 30092
    YOU ARE SUMMONED and required to file an answer in this case or otherwise file your
  appearance in the office of the clerk of this court, # 10 Public Scauare, Belleville, Illinois, 62220,
  within 30 days after the date of this summons.

    E-filing is now mandatory for documents in civil cases with limited exemptions. To e-file, you must
  first create an account with an e-filing service provider. Visit https:Hefile.iIIinoiscourts.gov/service-
  providers.htm to learn and to select a service provider. If you need additional help or have trouble e-
  filiniz, visit http://www.illinoiscourts.jzov/FAQ/ gethelp.asp.

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                                                                                                           5/17/2019
                                                                     Date:                                 Diane Kirksey


           Seal of Court                                                 Kahalah A. Clay, Circuit Clerk


                                                                     Deputy
  Name: Daniel R. Seidman
  Address: 110 W. Main St., Ste. 110
  Cjty: Belleville
  State & Zip: IL 62220
  Phone: 618-235-7622
~ =e   Case 3:19-cv-00698-SMY-RJD Document 1-1 Filed 06/27/19 Page 3 of 16 Page ID #11




         RETURN.......
                                                    ( Miles ...........................           $
                                                                 (Total............       ......................... $

                                                                 Sheriff of                                                                   County
            I certify that I served this summons on defendants as follows:
         (a) Individual defendants personal
         The officer or other person making service shall (a) identify as to sex, race and approximate age of the defendant with whom he left the summons
         and (b) state the lace where (whenever possible in terms of an exact street address) and the date and time of the day when the summons was left
         with the defendant)




                              C+
         (B)
           individual defendants abode
         By leaving a copy and a copy of the complaint at the usual place of abode of each individual defendant with a person of his family, of the age of 13
         years or upwards, infonning that person of the contents of the summons. (The officer or other person making service, shall (a) identify as to sex,
         race and approximate age of the person , other than the defendant, with whom he left the summons, and (b) state the place where (whenever
         possible in terms of an exact street address) and the date and time of day when the summons was left with such person.




         and also by sending a copy of the summons and of the complaint in a sealed envelope with postage fully prepaid, addressed to each individual
         defendant at his usual place of abode as follows:

               Name of Defendant                          Mailing Address                                                   Date of Mailing




         (C)Corporation Defendants:
         By leaving a copy and a copy of the complaint with the registered agent, officer or agent of each defendant corporation, as follows:

               Name of Defendant                          Registered agent or officer                                       Date of Servic




         (D) other service:




                                                                                             Sheriff of

                                                                                               By:
                                                                                                                 (Deputy)
~   Case 3:19-cv-00698-SMY-RJD Document 1-1 Filed 06/27/19 Page 4 of 16 Page ID #12
                                                                                                        Electronically Filed
                                                                                                          Kahalah A. Clay
                                                                                                               Circuit Clerk
                                                                                                        CARMEN GLENN
                                                                                                              19L0173
                                                                                                           St. Clair County
                    IN THE CIRCUIT COURT OF THE TWENTHIETH JUDICIAL CIRCUIT                              3/4/2019 9:47 AM
                                                                                                                  4133076
                                    ST. CLAIR COUNTY, ILLINOIS

       ALICE BEST, individually and                              )
       on behalf of all others similarly situated,               )

                       Plaintiff,
                                                                     No.: 19L0173


       CIOX HEALTH, LLC

                       Defendant.


                                                     COMPLAINT

              NOW COMES the Plaintiff, ALICE BEST, by and through her attorneys, SEIDMAN

       MARGULIS & FAIRMAN, LLP, and for her Complaint against the Defendant, CIOX

       HEALTH, LLC, states the following:


                                        I.      NATURE OF THE ACTION

               1.      Plaintiff brings this action alleging that Defendant engaged in fraudulent and

       deceptive practices through its invoices for copies of inedical records.

               2.      Plaintiff brings this action for violations of the Illinois Consumer Fraud and

       Deceptive Business Practices Act, 815 ILCS 505/1 et seq., cominon law fraud, and money had

       and received.

                                                     II.   PARTIES

               3.      At all times relevant to this Complaint, Plaintiff, Alice Best, is and was a

       resident of East St. Louis, St. Clair County, Illinois.

               4.      Defendant, Ciox Health, LLC ("Ciox"), is a Georgia corporation doing business

       in St. Clair County, Illinois.
,   Case 3:19-cv-00698-SMY-RJD Document 1-1 Filed 06/27/19 Page 5 of 16 Page ID #13




               5.      Ciox is a Release of Information ("ROI") provider, engaged in the business of

       processing and fulfilling requests made to medical providers for copies of private health

       information ("PHI") including medical records and bills.

               6.      Ciox is the largest ROI provider in the country for documents that include PHI

       including medical records and bills (hereinafter simply "records").

               7.      As the nation's largest ROI provider, the vast majority of hospitals in the United

       States manage ROI through Ciox.

               8.      As the nation's largest ROI provider, a substantial percentage of records requests

       in the United States, including Illinois, are fulfilled by Ciox.

               9.      Ciox employs more than 7500 people, including many of whom are employed on-

       site at its clients' facilities as ROI specialists.

               10.     Upon information and belief, Ciox employs ROI specialists in Illinois and/or St.

       Clair County, Illinois.

                                                         FACTS

               11.     Traditionally, requests for records were done pursuant to the Health Insurance

       Portability and Accountability Act ("HIPAA"), Pub. L. No. 104-191, 110 Stat. 1936 (1996).

               12.     Inter alia, HIPAA provides an avenue for individuals to request their records

       from medical providers.

               13.     Requests made under HIPAA's Privacy Rule were not limited in terms of the fees

       that ROI providers could charge.

               14.     The Health Information Technology for Clinical and Economic Health Act ("the

       HITECH Act"), 42 USC §§ 300jj et seq.; §§17901 et seq. was subsequently enacted and

       codified. 42 U.S.C. § 17291 et seq.



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          15.     Unlike HIPAA requests, HITECH requests are subject to fee restrictions.

   Specifically, the fee for HITECH requests are $6.50, only unless the ROI provider is able to

   calculate as well as supply the actual cost of labor in producing the records, or the average cost

   of labor in producing the records. Id.; HHS, Guidance: Individuals' Right under HIPAA to

   Access Their Health Information (May 25, 2016).

          16.     The $6.50 fee for HITECH requests applies whether or not individuals direct that

   their records be sent to themselves or a third party. Id. at 16.

          17.     At all times relevant herein, records produced by Ciox pursuant to HITECH

   requests are, and have been, subject to the fee limitations of the HITECH Act.

          18.     At all times relevant herein, Ciox has been actually aware that records produced

   by Ciox pursuant to HITECH requests are subject to the fee limitations of the HITECH Act.

          19.     At all times relevant herein, upon information and belief, Ciox invoices did not

   supply the actual cost of labor in producing the records, or the average cost of labor in producing

   the records.

          20.     Because Ciox invoices do not supply actual or average costs of labor, Ciox

   actually knew that it could charge a fee of only $6.50 for each HITECH request.

          21.     At all times relevant herein, upon informatiori and belief, Ciox, as a routine,

   customary, and/or automatic process, sends invoices requesting payment that are over $6.50, and

   therefore incorrect, and too high, which at all times has been actually known by Ciox.

          22.     When these incorrect invoices are disputed, it is Ciox's custom and practice to

   amend the invoices to charge only $6.50, but Ciox knowingly and/or purposely sends the original

   invoices with incorrect, and too high, amounts.




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              23.     Upon information and belief, Ciox mails incorrect invoices in a routine,

       customary, and/or automatic way.

              24.     Ciox's routine, customary, and/or automatic practice of sending knowingly

       incorrect invoices that it will reduce if disputed improperly shifts the burden to know proper

       charges under Federal law onto the individuals requesting their records.

              25.     Upon information and belief, Ciox mails the aforementioned incorrect, and too

       high, invoices in a routine, customary, and/or automatic way, with the knowledge and/or purpose

       of inducing individuals of overpaying Ciox.

              26.     Upon information and belief, Ciox, through its mailed invoices, knowingly and/or

       purposely, attempts to induce, and actual does induce, individuals to overpay Ciox for records

       requested pursuant to the HITECH Act.

              27.     The individuals that Ciox induces to overpay include Illinois residents.

              28.     On or about September 24, 2018, Plaintiff, Alice Best, properly made a request

       pursuant to the HITECH Act to SSM Health for her records to be provided in electronic format

       to her attorney.

              29.     SSM Health received this request on or about October 1, 2018.

              30.     On or about November 13, 2018, Ciox mailed Plaintiffls attorney records, along

       with an invoice for $33.04.

              31.     Ciox's invoice of $33.04 was itemized as follows: $25.51 for "Basic Fee[,]" $5.90

       for per-page paper copying fee, and $1.63 for shipping.

               32.    The correct fee for these records was $6.50.

               33.        At all relevant times, Ciox was actually aware that the correct fee for Plaintiff's

       records was $6.50.



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             34.   Ciox, through its agents, was actually aware that it's routine, customary, and/or

   automatic invoicing practices would induce Plaintiff to overpay by $26.54.

             35.   Relying on Ciox's representations of the amount owed, Plaintiff overpayed Ciox

   by $26.54.

             36.   As a result of the above, Ciox induced Plaintiff to overpay.

             37.   Plaintiff, and upon information and belief other similarly situated individuals,

   relied on Defendant's computation of the amount due, and was damaged as a result.

                                      III. CLASS ALLEGATIONS

             38.   Plaintiff brings this action on behalf of herself and all other similarly situated

   individuals and seeks certification of the following class:

                          (a) All persons who requested records pursuant to the HITECH Act (b)
                              whose requests were processed by Ciox (c) and who were overcharged
                              by Ciox for such requests.

                   Excluded from the Class are all persons who make a timely election to be

   excluded from the Class, Defendants and its subsidiaries and affiliates, and all others excluded

   by law.

             39.   Certification of Plaintiff's claims for class-wide treatment is appropriate because

   Plaintiff can prove the elements of her claim on a class-wide basis using the same evidence as

   would be used to prove those elements in individual actions alleging the same claims.

             40.   Numerosity — 735 ILCS 5/2-801(1). The members of the Class are so numerous

   that individual joinder of all Class members in impracticable. As the nation's leading ROI

   provider, Ciox is responsible for a substantial percentage of the records requests pursuant to

   HITECH in Illinois, and in the country.




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          41.     Class members may be notified of the pendency of this action by recognized,

   Court-approved notice dissemination methods, which may include U.S. mail, electronic mail,

   Internet postings, and/or published notice.

          42.     Commonality and Predominance — 735 ILCS 5/2-801(2). This action involves

   common questions of law and fact, which predominate over any questions affecting individual

   members of the Class, including, without limitations:

                  a.      Whether Defendant's actions in overcharging for records sent in response

                          to requests pursuant to the HITECH Act constituted deception, fraud, false

                          pretense, false promise, misrepresentation, and/or the concealment,

                          suppression, or omission of a material fact.

                  b.      Whether Defendant intended that overcharged individuals rely on

                          Defendant's deception, fraud, false pretense, false promise,

                          misrepresentation, and/or the concealment, suppression, or omission of a

                          material fact.

                  C.      Whether Defendant knew and/or recklessly disregarded the correct fees

                          for records requests.

                  d.      Whether Plaintiff and the Class are entitled to compeiisatory damages.

          43.     Adequacy of Representation — 735 ILCS 5/2-801(3). Plaintiff is an adequate

   representative of the Class because her interests do not conflict with the interests of the members

   of the Class she seeks to represent; she has retained counsel competent and experienced in class

   action litigation; and Plaintiff intends to prosecute this action vigorously. The interests of the

   Class will be fairly and adequately protected by Plaintiff and her counsel.




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          44.     Superiority — 735 ILCS 5/2-801(4). A class action is superior to any other

   available means for the fair and efficient adjudication of this controversy, and no unusual

   difficulties are likely to be encountered in the management of this class action. The damages or

   other financial detriment suffered by Plaintiff and members of the Class are relatively small

   compared to the burden and expense that would be required to individually litigate their claims

   against Defendants, often one to three cents, so it would be impracticable for members of the

   Class to individually seek redress for Defendants' wrongful conduct. Even if inembers of the

   Class could afford individual litigation, the burden on the Court would be high. Individualized

   litigation creates a potential for inconsistent or contradictory judgments, and increases the delay

   and expense to all parties and the court system. By contrast, the class action devise presents far

   fewer management difficulties, and provides the benefits of single adjudication, economy of

   scale, and comprehensive supervision by a single court.

                                    IV.     COUNTS FOR DAMAGES

                                  a. Count One — Illinois Consumer Fraud Act

          45.     Plaintiff repeats and re-alleges paragraphs 1 through 44 as if fully set forth herein.

          46.     Defendants' actions overcharging individuals, such as Plaintiff, for records

   requests made pursuant to the HITECH Act, constituted deception, fraud, false pretense, false

   promise, misrepresentation, and/or the concealment, suppression, or omission of a material fact.

          47.     Defendants' performed the foregoing actions overcharging individuals, with the

   intent that others rely upon their deception, fraud, false pretense, false promise,

   misrepresentation, and/or the concealment, suppression, or omission of a material fact.

          48.     The foregoing actions occurred in the course of conduct involving trade and/or

   commerce.



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, •     .


             49.     Plaintiff and members of the Class sustained actual damages proximately caused

      by the foregoing actions constituting deception, fraud, false pretense, false promise,

      misrepresentation, and/or the concealment, suppression, or omission of a material fact.

             50.     In overcharging Plaintiff and members of the Class, Defendants engaged in unfair

      and deceptive acts and practices, in violation of the Illinois Consumer Fraud and Deceptive

      Business Practices Act, 815 ILCS 505/2.

             WHEREFORE, Plaintiff prays that the Court enter judgement in favor of Plaintiff and the

      class, and against Defendant, in excess of $50,000, for:

                     a.      Compensatory damages;

                     b.      Punitive damages equal to at least 1% of the annual revenue of each of

                             Defendants' Cook County stores during each year the violations occurred;

                     C.      An injunction against further overcharges;

                     d.      Attorney's fees, litigation expenses and costs of suit;

                     e.      Such other or further relief as the Court deems proper.

                                         b. Count'Two — Common Law Fraud

             51.     Plaintiff repeats and re-alleges paragraphs 1 through 50 as if fully set forth herein.

             52.     Defendants misrepresented the amount charges due for records produced pursuant

      to the HITECH Act, to Plaintiff and members of the Class.

             53.     Plaintiff and other individuals relied on the misrepresentation by overpaying for

      records requested pursuant to the HITECH Act.

             54.     Defendant knew or recklessly disregarded the correct fee under the HITECH Act.

             WHEREFORE, Plaintiff prays that the Court enter judgement in favor of Plaintiff and the

      class, and against Defendants, in excess of $50,000, for:



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                  a.      Compensatory damages;

                  b.      Punitive damages equal to at least 1% of the annual revenue of each of

                          Defendants' Cook County stores during each year the violations occurred;

                  C.      Costs of suit;

                  d.      Such other or further relief as the Court deems proper.

                                  c. Count Tlhree — Money Had and Received

          55.     Plaintiff repeats and re-alleges paragraphs 1 through 54 as if fully set forth herein.

          56.     Defendant unjustly enriched itself, such it is obligated in good conscience to make

   restitution, by overcharging Plaintiff and other individuals for records.

          WHEREFORE, Plaintiff prays that the Court enter judgement in favor of Plaintiff and the

   class, and against Defendants, in excess of $50,000, for:

                  a.      Compensatory damages;

                  b.      Costs of suit;

                  C.      Such other or further relief as the Court deems proper.

                                                 JURY DEMAND

          Plaintiff hereby demands jury trial in this matter.




                                                         Respectfully submitted,

                                                         ALICE BEST, individually and on behalf of
                                                         all others similarly situated




                                                         One of Plaintiff's attorneys


                                                     ^
                                                     ~
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   Daniel R. Seidman
   SEIDMAN MARGULIS & FAIRMAN, LLP
   20 S. Clark St., Ste. 700
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   (312) 781-1977
   f: (224) 603-8345
   dseidman@seidmanlaw.net
   ID:6308142




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                                                                                                                   Circuit Clerk
                                                                                                             CARMEN GLENN
                                                                                                                   19L0173
                                                                                                               St. Clair County
                        IN THE CIRCUIT COURT OF THE TWENTHIETH JUDICIAL CIRCUIT                              3/4/2019 9:47 AM
                                                                                                                      4133076
                                        ST. CLAIR COUNTY, ILLINOIS

              ALICE BEST, individually and                        )
              on behalf of all others similarly situated,         )
                                                                  )
                             Plaintiff,                           )
                                                                                 19 L0173
                                                                  )       No.:
              V.

              CIOX HEALTH, LLC
                                                                  )
                             Defendant.                           )
                                                                  )

                            AFFIDAVIT PURSUANT TO SUPREME COURT RULE 222(b)


                     The undersigned, an attorney for Plaintiff, reasonably believes and hereby certifies that

              the damages for which Plaintiff prays for in her Complaint exceed $50,000.00.



                                                                 Respectfully submitted,

                                                                 SEIDMAN MARGULIS & FAIRMAN, LLP




                                                                         ,l L~ n
                                                                 Attorney for Plaintiff

              Daniel R. Seidman
              SEIDMAN MARGULIS & FAIRMAN, LLP
              20 S. Clark St., Ste. 700
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              dseidman@seidmanlaw.net
              ID:6308142
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                 e
 C9ViL ACT9ON NO: a M L— 113                                                g] MAG9STRATE Q] STATC [ DSUPERVOR - COIURT
                                                                            GWSNNETT COUNTY, GEORGBA
  DATEFILED             a~q,rGk `'( .
 ATTORNEY OR PLAINTIFF(s), ADDRESS & TELEPHONE NUMBER


       04 .1 : e I   e . .s@ i!I<"'Y '1
                                                                            PLAINTIFF(S)
                                                                            Vs.
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       Se.1le v;1<<. ::):J1i,at_5         h ,1d02 D
                                                                            DEFENDANT(S)
       (61s)
 NAME, ADDRESS & TELEPHONE # OF PARTY TO BE SERVED
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                       00

                                                                            Other attached documents to be served:     /411G1-s

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                                                               SHERIFF'S ENTRY OF SERVICE
I HAVE THIS DAY SERVED THE WITHIN ACTION AND SUMMONS AS FOLLOWS:

 L j PERSONAL Upon the following named defendant:

 [ ] NOTORIOUS Upon defendant
 By leaving a copy of the action and summons at the most notorious place of abode in the county.                                                        '

 Delivered the same to                                                                                     described as follows: approximate age

  ~~rs;,approximate weight                pounds; approximate height        feet and         inches, domiciled at residence of the defendant.

 [ ]~CORPORATION Upon corporation
   r'.
 By serving                                                                                                            in charge of the office and
 place of business of the corporation in this county.

 By serving                                 i           (" '                                                                 its registered agent.


 [] TACK & MAIL By posting a copy of the same to the door of the premises designated in the affidavit and/or summons, and on the
 same day of such posting, by depositing a true copy of the same in the United States mail First Class mail, in an envelope properly
 addressed to the defendant(s) at the address shown in the summons, containing adequate notice to the defendant(s) to answer said
_summons at the place stated in the summons.

 [] NON EST Did not serve because after a diligent search the defendant could not be found in the jurisdiction of the court.




This                  day of                        %                        20 `                                  J         1~
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                                                                                                       t           s
 SHERIFF DOCKET                                 PAGE
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